
THE COURT.
Action to recover damages for the publication of a libel by defendant in Ms newspaper, the "Examiner.” The jury returned a verdict for plaintiff in the sum of two thousand six hundred and fifty dollars, for which amount judgment was rendered. Defendant appeals from the judgment and from an order denying his motion for a new trial.
No exception is taken to any ruling of the court below at the trial, nor is any alleged error of law presented; and the sol'e point made here for the reversal is that the amount of the damages found by the jury is excessive. But, on well-settled principles, an appellate court is not warranted in setting aside the verdict of a jury on this ground, unless the amount of damages assessed is so unreasonably large and extravagant as to show that the jury were actuated by passion, prejudice or corruption; and it is sufficient to say that the record here does not show such a case.
The judgment and order appealed from are affirmed.
